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 Leah C. Kagan (NJ ID No. 013602009)
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 Counsel for Various Mesothelioma Talc Claimants


                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF NEW JERSEY

 ____________________________________
  In re:                                                      Chapter 11

  LTL MANAGEMENT LLC,                                         Case No. 23-12825 (MBK)

                   Debtor.                                    Judge: Michael B. Kaplan
 ____________________________________
                AFFIDAVIT OF LEAH C. KAGAN, ESQ. IN SUPPORT OF AN
              APPLICATION FOR AN ORDER FOR ADMISSION PRO HAC VICE

  STATE OF NEW YORK                      )
  COUNTY OF NEW YORK                     )

          I, Leah C. Kagan being of full age and sworn according to law, depose and say:

        1.      I am an attorney admitted to practice in the United States District Court, District of

 New Jersey having been admitted in 2009.

        2.      This Affidavit is being submitted in connection with the application by Jeffrey

 Simon for admission pro hac vice pursuant to D.N.J. L.Civ. R. 101.1 and D.N.J. LBR 9010-1.

        3.      Mr. Simon has been associated with the law firm Simon Greenstone Panatier, P.C.,

 attorneys for Various Talc Claimants. I have worked on several cases with Mr. Simon pending in

 various jurisdictions.

        4.      I believe that Mr. Simon is of high moral character. He is an experienced attorney

 in asbestos litigation and has tried numerous cases throughout the country. Based upon my
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 interactions with him, I believe him to be a qualified and capable attorney.

  Dated: New York, New York
         April 18, 2023
                                                       Respectfully submitted,

                                                       /s/ Leah C. Kagan
                                                       Leah C. Kagan, Esq.
                                                       SIMON GREENSTONE PANATIER, P.C.
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